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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION
DONNA CAVE, JUDITH LANSKY,                                  PLAINTIFFS
PAT PIAZZA, AND SUSAN RUSSELL

ANNE ORSI; AMERICAN HUMANIST     CONSOLIDATED PLAINTIFFS
ASSOCIATION; FREEDOM FROM
RELIGION FOUNDATION, INC.;
ARKANSAS SOCIETY OF FREETHINKERS;
JOAN DIETZ; GALE STEWART; RABBI
EUGENE LEVY; REV. VICTOR H. NIXON;
TERESA GRIDER; AND WALTER RIDDICK

THE SATANIC TEMPLE; DOUG MISICKO,                           INTERVENORS
AKA "LUCIEN GREAVES"; AND ERIKA
ROBBINS

VS.                                      CASE NO. 4:18-CV-00342


JOHN THURSTON, ARKANSAS SECRETARY                             DEFENDANT
OF STATE, IN HIS OFFICIAL CAPACITY
_______________________________________________________
                    VIDEOTAPED ORAL DEPOSITION
                                    OF
                DOUGLAS ALEXANDER MISICKO
_______________________________________________________


                            March 11, 2020
            Office of the Arkansas Attorney General
                       323 Center Street
                  Little Rock, Arkansas 72201
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Shyloa Myers, RPR, CCR
Arkansas Lic. No. 710
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                        A P P E A R A N C E S


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        ON BEHALF OF THE INTERVENORS:

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        ALSO PRESENT:
        MICHAEL FINCHER
        RACHEL KLUENDER
        BRITTANY GARCIA
        ERIKA ROBBINS
        TOM HALLUM, Videographer
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                             C A P T I O N


       ANSWERS AND ORAL DEPOSITION OF DOUGLAS ALEXANDER
MISICKO, a witness produced at the request of the
Defendant, taken in the above-styled and numbered cause
on the 11th of March, 2020 before Shyloa Myers, CCR, RPR,
and Notary Public, at 9:09 a.m. at the offices of the
Arkansas Attorney General, Civil Department, 323 Center
Street, Little Rock, Arkansas 72201.




                       S T I P U L A T I O N S


                   NO STIPULATIONS ON THE RECORD
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1                        (Deposition commences at 9:09 a.m.)
2                                  PROCEEDINGS
3                        THE VIDEOGRAPHER:        We are on the record.
4                 The date is March 11, 2020. The time is
5                 9:09 a.m. This the deposition of Douglas
6                 Alexander Misicko.
7                        Will you swear the witness in, please.
8                        (Witness sworn.)
9                        MR. CANTRELL:      Okay. So we're on the
10                record. And let's all go around and -- and say
11                who we are and who we represent.
12                       I am Michael Cantrell. I represent the
13                Defendant. I am with the Attorney General's
14                Office.
15                       MS. PATTERSON:       Lea Patterson from the
16                First Liberty Institute for the Defendant.
17                       MR. SULLIVAN: I'm Gary Sullivan from the
18                Secretary of State's Office for the Defendant.
19                And I have observers, staff attorney Michael
20                Fincher and staff attorney Rachel Kluender.
21                       MR. GILLESPIE: Josh Gillespie for the Cave
22                plaintiffs.
23                       MR. BAKER:      Darryl Baker for the Orsi
24                plaintiffs.
25                       MS. KEZHAYA:      Sonia Kezhaya for the
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1    discussed already?
2    A.      That's correct.
3    Q.      Okay. Since 2017 to now?
4    A.      Well, there's Cinephobia.
5            Are we still considering that part of --
6                        MR. KEZHAYA:      No, we're not.
7                        MR. CANTRELL:      Matt, would you agree that
8                 Cinephobia is an affiliate of The Satanic
9                 Temple?
10                       MR. KEZHAYA:      I would not.
11                       MR. CANTRELL:      Okay. That was one that
12                I -- I could not recall earlier, but I -- I
13                think it is an affiliate.
14                       MR. KEZHAYA:      It's not part of the judge's
15                order. We did not agree that Cinephobia is a
16                TST affiliate.
17                       MR. CANTRELL:      Okay. All right. And I'll
18                ask the question, just to put it on record.
19   Q.      (Mr. Cantrell) How much in compensation have you
20   received from Cinephobia since 2017?
21                       MR. CANTRELL:      And I understand you are
22                objecting to that question.
23                       MR. KEZHAYA:      Subject to that objection,
24                go ahead and answer.
25                       MR. CANTRELL:      Okay. And the basis for
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1                 your objection is the Court's order?
2                        MR. KEZHAYA:      It is outside the Court's
3                 order. We specified there are three affiliates
4                 that we all agree are TST. This is not one of
5                 those.
6                        MR. CANTRELL:      Okay.
7                        MR. KEZHAYA:      And we do not agree that
8                 this is one of those.
9                        MR. CANTRELL:      Okay.
10                       MR. KEZHAYA:      I'm going to let him,
11                because I know the answer is zero or next to
12                it.
13                       MR. CANTRELL:      All right. Are you -- I'm
14                sorry.
15                       MR. KEZHAYA:      Oh, never mind. Go ahead.
16   Q.      (Mr. Cantrell) Are you familiar with someone named
17   Kyn Laroux?
18   A.      Yes.
19   Q.      Okay. Do you have personal knowledge of his -- of
20   his affiliation with The Satanic Temple?
21   A.      Yes.
22   Q.      Okay. Are you aware that he holds any other
23   position with The Satanic Temple?
24   A.      I'm sorry. Any other position than what?
25   Q.      Well, let me ask a better question.
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                              CERTIFICATE
STATE OF ARKANSAS             )
                              )ss
COUNTY OF SALINE              )
       I, Shyloa Myers, CCR, RPR, and Notary Public, do
hereby certify that the foregoing testimony of the
witness, DOUGLAS ALEXANDER MISICKO, was reported verbatim
through the use of the stenographic method and thereafter
transcribed by me or under my direct supervision to the
best of my ability, taken at the time and place set out
on the caption hereto.
       I FURTHER CERTIFY that in accordance with Rule 30(e)
of the Rules of Civil Procedure, review of the transcript
WAS NOT requested.
       I FURTHER CERTIFY that I am not a relative or
employee of any attorney or employed by the parties
hereto, nor financially interested or otherwise in the
outcome of this action, and that I have no contract with
the parties, attorneys, or persons with an interest in
the action that affects impartiality or that requires me
to provide any service not made available to all parties
to the action.
       WITNESS MY HAND AND SEAL this 10th day of
April, 2020.

_________________________________                   _______________
Shyloa Myers, RPR, Notary Public                       (SEAL)
Arkansas CCR Lic. No. 710
